     Case: 1:18-cv-07719 Document #: 47 Filed: 04/17/19 Page 1 of 2 PageID #:384



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Fairly Odd Treasures, LLC                     )
                                              )
v.                                            )       Case No. 1:18-cv- 7719
                                              )
THE PARTNERSHIPS and                          )       Judge: Rebecca R. Pallmeyer
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A,”                   )       Magistrate: Susan E. Cox
                                              )
                                              )
                                              )


                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Fairly Odd Treasures, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe   Store Name                            Merchant ID
   7   Grube Global                          A1GK9S48LOZSLJ
  21   MOMA CAKE                             A32A9YR9710GVX
 148   chenkang889                           5aaf9fddabef95217b66a8ae
 171   damaichang1001                        59ae5a1335e73b65a37f2a87
 207   emimi                                 594b77b78635f0195d7db3e7
 278   hellojaney                            592bca01cc5bb860f6fbdc99
 298   httpwwwaliexpresscomstore414649       553e5210d0bc8d204c9de884
 299   httpwwwaliexpresscomstore814517       5507c82b04136a46ed4525c0
 334   jpeach                                59d4e99567e9be787473f7cd
 575   siliu                                 5a37b79187c25b3511f4b12d
 620   tianjin58sofacover                    585e15d531041c4cad84441e



Dated: April 17, 2019
                                              Respectfully submitted,



                                              By:        s/David Gulbransen/
Case: 1:18-cv-07719 Document #: 47 Filed: 04/17/19 Page 2 of 2 PageID #:385



                                        David Gulbransen
                                        Attorney of Record

                                        David Gulbransen (#6296646)
                                        Law Office of David Gulbransen
                                        805 Lake Street, Suite 172
                                        Oak Park, IL 60302
                                        (312) 361-0825 p.
                                        (312) 873-4377 f.
                                        david@gulbransenlaw.com




                                    2
